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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA

                         INITIAL APPEARANCE - REVOCATION
                                                     )       COURT MINUTES - CRIMINAL
United States of America,                            )              BEFORE: Tony N. Leung
                                                     )             U.S. MAGISTRATE JUDGE
                         Plaintiff,                  )
v.                                                   )   Case No:              19-cr-247 PAM
                                                     )   Date:                 September 6, 2022
Tathony M. Brown,                                    )   Courthouse:           Minneapolis
                                                     )   Courtroom:            9W
                         Defendant.                  )   Time Commenced:       2:05 p.m.
                                                     )   Time Concluded:       2:14 p.m.
                                                     )   Time in Court:        9 minutes
                                                     )
                                                     )
APPEARANCES:

 Plaintiff: David Genrich, Assistant U.S. Attorney
 Defendant: Jean Brandl, Assistant Federal Public Defender
                       X FPD           X To be appointed

Date Charges Filed: 3/9/2021 and 3/17/2021           Offense: failure to appear at a final revocation hearing; new
                                                     charge; failure to participate in educational services as
                                                     instructed
 X Advised of Rights

on    X Order of the Court- Failure to Appear and Violation of X Supervised Release

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Thursday, September 8, 2022 at 11:30 a.m. before U.S. Magistrate Judge Tony N.
Leung in CR9W, Minneapolis for:
 X Detention hrg           X Preliminary revocation

And

Next appearance date is Wednesday, October 5, 2022 at 11:00 a.m. before U.S. District Judge Paul A.
Magnuson in CR7D, St. Paul for:
 X Final Revocation


Additional Information:
X Oral Rule5(f) Brady notice read on the record.

Mr. Brown notes his desire to be relocated to another facility.

                                                                                                    s/ SAE
                                                                              Signature of Courtroom Deputy
